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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

   Case No.     CV 85-4544 DMG (AGRx)                                    Date     June 25, 2018

   Title Jenny L. Flores, et al. v. Jefferson B. Sessions, III, et al.                  Page     1 of 1


   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                KANE TIEN                                                NOT REPORTED
                Deputy Clerk                                              Court Reporter

      Attorneys Present for Plaintiff(s)                         Attorneys Present for Defendant(s)
               None Present                                                None Present

   Proceedings: IN CHAMBERS - ORDER RE PLAINTIFFS’ APPLICATION FOR
                EXTENSION OF TIME TO FILE RESPONSE TO DEFENDANTS’ EX
                PARTE APPLICATION [437]

          On June 21, 2018, Defendants filed an Ex Parte Application seeking to modify certain
   aspects of the Flores Agreement. [Doc. # 435.] On June 22, 2018, Plaintiffs filed an
   Application requesting: (1) a hearing on Defendants’ Ex Parte Application with a new briefing
   schedule, or (2) a ten-day extension in Plaintiffs’ deadline to file a response to Defendants’ Ex
   Parte Application. [Doc. # 437.] Good cause appearing, Plaintiffs’ Application is GRANTED
   IN PART and DENIED IN PART. Plaintiffs may file a response to Defendants’ Ex Parte
   Application by no later than June 27, 2018.

   IT IS SO ORDERED.




   CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
